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                              UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA


 SCOTT GILMORE, et al.,                         MDL No. 2741

                Plaintiffs,                     Case No. 3:21-cv-08159

        vs.                                     DECLARATION OF GILLIAN L. WADE IN
                                                SUPPORT OF PLAINTIFFS’ MOTION FOR
 MONSANTO COMPANY,                              FINAL APPROVAL OF CLASS ACTION
                                                SETTLEMENT
                Defendant.
                                                Date:    January 12, 2023
                                                Time:    2:30 p.m.
                                                Place:   Via Zoom Webinar
                                                Judge:   Hon. Vince G. Chhabria
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       I, Gillian L. Wade, declare as follows:

       1.      I am admitted to the bar of this state and am a partner at Milstein Jackson Fairchild

& Wade, LLP (“MJFW”), Class Counsel and counsel of record for Plaintiffs Scott Gilmore, Julio

Ezcurra, Sherry Hanna, James Weeks, Paul Taylor, Kristy Williams, Amanda Boyette, and

Anthony Jewell (collectively, Plaintiffs). I have personal knowledge of the facts set forth in this

declaration, and, if called as a witness, could and would competently testify thereto under oath.

       2.      This declaration is submitted in support of Plaintiffs’ Motion for Final Approval.

       3.      Except for the objections presented at the preliminary approval stage, to date, I am

unaware of any members of the Settlement Class who objected to or commented on the Settlement

Agreement in writing, pursuant to the process for such objections set forth in the Settlement

Agreement or otherwise. 1

       4.      I was counsel of record for the plaintiff in Weeks v. Home Depot U.S.A., Inc., No.

2:19-cv-6780 (C.D. Cal.), where there was significant motion practice and discovery, including

Home Depot’s production of tens of thousands of pages of documents, the plaintiff’s responses to

written discovery, and many Rule 37 conferences.

       5.      The Weeks opening brief on appeal has been filed, and the matter remains pending

before the Ninth Circuit.

       6.      Sherry Hanna’s state court action against Walmart was voluntarily dismissed only

after the parties’ successful mediation. Similarly, the motion to dismiss in Williams v. Lowe’s

Home Centers, LLC, No. 20-1356 (C.D. Cal. filed July 6, 2020) was fully briefed and voluntarily

dismissed only after the Parties had reached an agreement in principle. Jewell v. Walmart, Inc.,



1
 The Second Amended Class Action Settlement Agreement (the “Settlement”) is attached to
ECF No. 94-1 at pages 18 to 57. Unless otherwise stated, all capitalized terms refer to the terms
defined in the Settlement.
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No. 19-4088 (W.D. Ark. filed Aug. 12, 2019) and Boyette v. Lowe’s Companies, Inc., No.19-4119

(W.D. Ark. filed Sept. 13, 2019) were not “abandoned,” but rather, a strategic decision to pursue

similar claims against Walmart and Lowes in California was made to carry on the litigation with

Hanna and Williams.

       7.      I was also counsel of record for plaintiff in Ezcurra v. Monsanto Co., No. 9:20-cv-

80524 (S.D. Fla.). In the course of the briefing on Monsanto’s motion to dismiss, Class Counsel

filed Fagundes v. The Home Depot, No. 0:20-cv-61035 (S.D. Fla.) and Taylor v. Costco Wholesale

Corp., No. 20-cv-00655 (E.D. Cal.). Monsanto’s motion to dismiss in Ezcurra led to several

amendments to the pleadings and months of motion practice. With Monsanto’s motion still

pending, the Parties in May 2020 conducted a Rule 26(f) conference, filed a Joint Discovery Plan,

and commenced discovery. The Parties in Ezcurra exchanged written discovery between May and

July 2020. Monsanto responded to interrogatories, requests for admission, and requests for

production, and it produced thousands of pages of documents, including sales data and final

product labeling. Ezcurra responded to lengthy interrogatories and produced documents. The

Parties also served notices of deposition and began negotiating the scope of those depositions.

Monsanto produced thousands of pages of documents (including sales data and product labeling)

and responded to interrogatories and requests for production.

       8.      Shortly before Monsanto’s expert disclosures were due, and with depositions set to

commence, the court granted Monsanto’s motion to dismiss on the ground that Florida’s safe-

harbor provision barred Ezcurra’s claims (without addressing the merits of Monsanto’s other

arguments). Ezcurra was dismissed just one business day before depositions were scheduled to

begin. Although the depositions never went forward, the parties were prepared for them. Plaintiffs




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had also prepared a Motion for Class Certification that was due one week after the case was

dismissed. Such preparation was necessary, given that trial was set for December 7, 2020.

       9.      The Ezcurra opening brief on appeal has been filed, and the matter remains pending

before the Eleventh Circuit.

       10.     Through discovery and extensive briefing on an array of complex issues, I was well

apprised of the strengths and weaknesses of the cases before engaging in settlement talks. This

was further underscored by briefing occurring during the time settlement discussions were

underway, creating further risks for both parties which facilitated settlement. Also key was the

expert discovery in the Ezcurra case.

       11.     The work done in the Related Cases—discovery, the expert analysis, publicly

available discovery from a number of personal injury cases in litigation, and briefing on complex

issues, including class certification—contributed significantly to the Settlement.

       12.     There was significant risk for both parties going into mediation, as informed by the

Parties’ dueling expert analyses and a number of pending rulings on fully briefed matters.

       13.     At the time of mediation, the Parties were more than able to assess the risks of

continued litigation, further underscoring the Settlement’s validity.

       14.     The claims rate can be calculated by dividing the net valid claims by $532 million (the

total cash value of the Settlement assuming no ceiling and a 100% claims rate). The $532 million

comes from the total sales value of the Products during the Class Period ($2.66 billion) multiplied

the percentage value of the cash payments (20% of the average retail price).

       15.     Co-counsel and I were actively involved in discussions with the Claims

Administrator to ensure that the claims process was not burdensome for Class Members.

       16.     As explained in Class Counsel’s November 14, 2022 letter to the Court, another

individual (who stated he is not a Class Member but was attempting to help a family member who
                                                 3
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is) reached out to Class Counsel to complain that he was unable to access the online Claim Form

at 10:37 p.m. PST on the last day to make claims. To date, other than the communications with

this individual, Class Counsel has received no further correspondence regarding the closure. Class

Counsel took the actions described in the November 14 letter to address this issue.

        17.     The costs of continued litigation would be significant. Although Plaintiffs and Class

Counsel have confidence in their claims, a favorable outcome is not assured. For over two years

and across more than a dozen Related Actions, Monsanto has raised multiple legal and factual

defenses that, barring a settlement, will require additional discovery, depositions, briefing, and

other costly and time-consuming pretrial efforts. Moving to trial would involve significant

additional expert discovery and motion practice, implicating a decades-long scientific and

regulatory record spanning hundreds of studies and millions of pages. There would likely be a

vigorous dispute over class certification and potentially interlocutory appeals. It is also quite clear

that there would be extensive disputes over the existence and amount of any price premium. And,

because there is every reason to believe Monsanto would continue to vigorously defend against

Plaintiffs’ claims, a long and costly trial on the merits, followed by appeals, could ensue. Even if

Plaintiffs were to certify a class and prevail at a class trial, any recovery could be delayed for years

by appeal, which could have further delayed and jeopardized a class recovery. And if a class

maintained its certified status through trial, any adverse judgment would bind the entire class.



        I declare under penalty of perjury under the laws of the United States and the State of

California that the foregoing is true and correct. Executed on November 28, 2022 in Los Angeles,

California.


                                                        Gillian L. Wade

                                                   4
